                  THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        BRYSON CITY DIVISION

                     CRIMINAL CASE NO. 2:11cr22-10


UNITED STATES OF AMERICA,                   )
                                            )
                                            )
                   vs.                      )     ORDER
                                            )
                                            )
MICHAEL JAMES TAYLOR.                       )
                                            )


      THIS MATTER is before the Court on the Government’s Motion for

Preliminary Order of Forfeiture [Doc. 277].

      As a result of the guilty plea of the Defendant to the violation stated in

the Bill of Indictment, for which the United States sought forfeiture pursuant

to 21 U.S.C. § 853, the Defendant shall forfeit to the United States all property

constituting or derived from any proceeds the Defendant obtained, directly or

indirectly, as a result of such violation; and/or all property used or intended to

be used in any manner or part to commit or facilitate the commission of the

violation.

      The Court has determined, based on the Bill of Indictment [Doc. 74], the

Bill of Particulars [Doc. 111], the guilty plea of the Defendant [Doc. 197], and

the parties’ Settlement Agreement [Doc. 276], that the below-described



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property is subject to forfeiture pursuant to 21 U.S.C. § 853, and that the

Government has established the requisite nexus between such property and

such violations and that the Defendant had an interest in the property.

      Accordingly, IT IS, THEREFORE, ORDERED:

      1.    The Government’s Motion for Preliminary Order of Forfeiture [Doc.

277] is GRANTED, and the following property is hereby forfeited to the United

States for disposition according to law, subject to the provisions of 21 U.S.C.

§ 853(n):

            •     Real property located at 2444 U.S. Highway
                  441 South, Sylva, Jackson County, North
                  Carolina, as more particularly described in a
                  deed recorded at book 1869, page 559, in the
                  Jackson County, North Carolina, public
                  registry;

            •     Real property located at 135 Long Street,
                  Waynesville, Hayw ood County, North
                  Carolina, as more particularly described in a
                  deed recorded at book 795, page 673, in the
                  Haywood County, North Carolina, public
                  registry; and

            •     Real property located at 19 Pine Street,
                  Greenville, Greenville County, South
                  Carolina, as more particularly described in a
                  deed recorded at book 2389, page 2995, in
                  the Greenville County, South Carolina,
                  public registry.




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      2.    The Attorney General (or a designee) is authorized to seize the

forfeited property subject to forfeiture; to conduct any discovery proper in

identifying, locating, or disposing of the property; and to commence

proceedings that comply with any statutes governing third party rights. Fed.

R. Crim. P. 32.2(b)(3).

      3.    Pursuant to 21 U.S.C. § 853(n)(1) and Rule 32.2(b)(6) of the

Federal Rules of Criminal Procedure, the United States shall post on an

official government internet site (www.forfeiture.gov), for at least thirty (30)

consecutive days, notice of this Order and of its intent to dispose of the

property in such a manner as the United States may direct. The United States

may also, to the extent practicable, provide direct written notice of this

forfeiture to any person who reasonably appears to be a potential claimant

with standing to contest the forfeiture in an ancillary proceeding.

      4.    Any person, other than the Defendant, having or claiming a legal

interest in any of the above-listed forfeited property may, within thirty (30)

days of the final publication of notice or of receipt of actual notice, whichever

is earlier, petition the Court for a hearing without a jury to adjudicate the

validity of the petitioner’s alleged interest in the property, and for an

amendment of the Order of Forfeiture pursuant to 21 U.S.C. § 853(n). The



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petition shall be signed by the petitioner under penalty of perjury and shall set

forth the nature and extent of the petitioner’s right, title or interest in each of

the forfeited properties; the time and circumstances of the petitioner’s

acquisition of the right, title, or interest in the property; and any additional facts

supporting the petitioner’s claim and the relief sought. 21 U.S.C. §§ 853(n)(2)

and (3).

      5.     After the disposition of any motion filed under Rule 32.2(c)(1)(A)

of the Federal Rules of Criminal Procedure and before a hearing on the

petition, discovery may be conducted in accordance with the Federal Rules

of Civil Procedure upon a showing that such discovery is necessary or

desirable to resolve factual issues.

      6.     Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal

Procedure, upon entry of this Preliminary Order of Forfeiture, the United

States Attorney’s Office is authorized to conduct any discovery needed to

identify,   locate   or   dispose   of   the   property,   including    depositions,

interrogatories, requests for production of documents, and to issue subpoenas

pursuant to Rule 45 of the Federal Rules of Civil Procedure.

      7.     This Preliminary Order of Forfeiture shall become final as to the

Defendant at the time of sentencing and shall be made part of the sentence



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and included in the Judgment. If no third party files a timely claim, this Order

shall become the Final Order of Forfeiture, as provided by Rule 32.2(c)(2) of

the Federal Rules of Criminal Procedure.

      8.    Upon adjudication of third-party interests, if any, this Court will

enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853(n) and Rule

32.2(c)(2) of the Federal Rules of Criminal Procedure.

      9.    The Court shall retain jurisdiction to enforce this Order and to

amend it as necessary, pursuant to Rule 32.2(e) of the Federal Rules of

Criminal Procedure.

      IT IS SO ORDERED.

                                           Signed: October 2, 2012




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